     Case: 19-10696-BAH Doc #: 8 Filed: 06/06/19 Desc: Main Document                         Page 1 of 4



                                UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW HAMPSHIRE

In Re:                                                     Case Number 19-10696-BAH
Patrick Lawrence Bowden                                    Chapter 7


       WELLS FARGO BANK, NATIONAL ASSOCIATION, AS
       TRUSTEE FOR BANC OF AMERICA ALTERNATIVE LOAN
       TRUST 2005-6 MORTGAGE PASS-THROUGH CERTIFICATES,
       SERIES 2005-6 AND/OR ITS SUCCESSORS AND ASSIGNS,

                            Movant.

       v.

       PATRICK LAWRENCE BOWDEN,

                            Debtor.


            MOTION OF WELLS FARGO BANK, NATIONAL ASSOCIATION, AS TRUSTEE
            FOR BANC OF AMERICA ALTERNATIVE LOAN TRUST 2005-6 MORTGAGE
             PASS-THROUGH CERTIFICATES, SERIES 2005-6 FOR RELIEF FROM THE
               AUTOMATIC STAY AND FOR LEAVE TO FORECLOSE MORTGAGE

                           The Debtor’s Statement of Intention indicates that the Property
                              which is the subject of this motion is to be surrendered.

                    Wells Fargo Bank, National Association, as Trustee for Banc of America Alternative
       Loan Trust 2005-6 Mortgage Pass-Through Certificates, Series 2005-6 (hereinafter referred to as the
       “Movant”), a secured creditor, hereby moves this Court for Relief from the Automatic Stay pursuant
       to Bankruptcy Rules 4001 and 9014 and 11 U.S.C. Section 362(d) and for leave to foreclose a certain
       mortgage encumbering the property owned by the Debtor, known as 34 Misty Lane a/k/a 491 Route
       202, Barrington, NH 03825. In support of this Motion, Movant states as follows:


1.                  This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. 1334 and 28
            U.S.C. 157(b)(2)(G).   This case relates to a case under Title 11 of the United States Code (the
            “Bankruptcy Code”). This proceeding is a “core” proceeding as this term is defined in the Code.
2.                  On May 16, 2019, Patrick Lawrence Bowden (hereinafter referred to as the “Debtor”)
            filed a voluntary Chapter 7 Petition in Bankruptcy.
3.                  Movant is the current holder of a certain mortgage given by the Debtor (a/k/a Patrick L.
            Bowden) and by Mary E. Bowden (hereinafter referred to as the “Co-Debtor”) to Bank of
            America, N.A. in the original principal amount of $184,300.00 dated April 15, 2005 and recorded
     Case: 19-10696-BAH Doc #: 8 Filed: 06/06/19 Desc: Main Document                           Page 2 of 4



         at Strafford County Registry of Deeds in Book 3173, Page 492 (the “Mortgage”). A copy of the
         Mortgage is attached hereto as Exhibit A.
4.                 The Mortgage secures a promissory note of even date and original principal amount
         given by the Debtor and Co-Debtor to Bank of America, N.A. (the “Note”) of which Movant is
         the current holder. A copy of the Note is attached hereto as Exhibit B.
5.                 Bank of America, N.A. assigned the Mortgage to Nationstar Mortgage LLC by
         assignment dated October 17, 2013 and recorded at Strafford County Registry of Deeds in Book
         4179, Page 165, a copy of which is attached hereto as Exhibit C. Nationstar Mortgage LLC, in
         turn, assigned the Mortgage to the Movant by assignment dated March 18, 2019 and recorded at
         Strafford County Registry of Deeds in Book 4642, Page 526, a copy of which is attached here to
         as Exhibit D. The current loan servicer for the Movant is Nationstar Mortgage LLC d/b/a Mr.
         Cooper.
6.                 The Mortgage encumbers real property known as 34 Misty Lane a/k/a 491 Route 202,
         Barrington, NH 03825 (hereinafter referred to as the “Property”). Copies of the Mortgage and
         Note are attached hereto as Exhibit A and Exhibit B respectively. The Mortgage is in first lien
         position. Aside from the Property, there is no other collateral securing the Debtor’s obligation to
         Movant.
7.                 The Debtor has defaulted on the Note and Mortgage by failing to make regular payments
         to Movant. As of May 20, 2019, the balance due Movant on the Note was approximately
         $142,983.63 (may not include negative escrow balances or recent escrow advances). The full
         amount of the Movant’s claim together with allowable post-petition interest, reasonable attorney
         fees, court costs, and other recoverable expenses is secured by the Mortgage.
8.                 According to the Debtor’s Schedules, the fair market value of the Property is
         $185,000.00. Accepting the Debtor’s valuation for purposes of this motion only, the liquidation
         value of the Property is $174,556.25 based upon a usual and customary broker’s commission of
         $9,250.00 (5% of stated fair market value), deed stamps of $693.75 (seller’s one-half), and
         $500.00 in miscellaneous estimated closing costs.
9.                 As of May 20, 2019, the Debtor’s mortgage account is due for the November 1, 2018
         contractual due date. The current monthly payment is $1,616.65, subject to such subsequent
         adjustment as may be specified in the Note.
10.                As of May 20, 2019, the Debtor owed Movant a total contractual arrearage of $11,971.05
         calculated as follows:


         - 5 Monthly Payments (11/1/18 - 3/1/19) at $1,561.35/mo.                  $7,806.75
    Case: 19-10696-BAH Doc #: 8 Filed: 06/06/19 Desc: Main Document                               Page 3 of 4



        - 2 Monthly Payments (4/1/19 - 5/1/19) at $1,616.65/mo.                      $3,233.30
        - Motion Fees and Costs                                                        $931.00
        ______________________________________________________________________
        Total Contractual Arrearage:                                                $11,971.05


11.              In addition to the Mortgage to Movant, there are outstanding liens on the Property as
        follows:

                   Lien                      Type                 Amount                Book/Page

                Movant                     Mortgage             $142,983.63             3173/0492

       Town of Barrington, NH             Lien/Taxes             $2,244.00             Per Debtor’s
                                                                                        Schedules

        The total of all liens on the Property is approximately $145,227.63.


12.              Movant is entitled to Relief from the Automatic Stay for cause pursuant to Section
        362(d)(1) of the Code inasmuch as the Debtor has failed to make regular monthly mortgage
        payments to the Movant in violation of the terms of the Note and Mortgage.1




WHEREFORE, Movant requests that this Honorable Court:


(a)     Grant Movant Relief from the Automatic Stay pursuant to 11 U.S.C. Section 362(d) and for leave
        to Foreclose Mortgage, allowing Movant, its successors or assigns to foreclose said mortgage
        (including, at its sole option, leave to accept a deed-in-lieu of foreclosure from the Debtor, their
        heirs, successors, assigns or transferees); and for it or a third party purchaser to prosecute
        summary process proceedings to evict any persons residing in the Property.
(b)     In the alternative, order the Debtor to provide Movant with adequate protection of its claim; and
(c)     Grant such other Relief as this Honorable Court may deem just.




1
  Attached are redacted copies of any documents that support this Motion, such as promissory notes, purchase order,
invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements in
support of right to seek a lift of the automatic stay and foreclose if necessary.
 Case: 19-10696-BAH Doc #: 8 Filed: 06/06/19 Desc: Main Document           Page 4 of 4



Date: June 6, 2019

                                   Respectfully submitted,
                                   Wells Fargo Bank, National Association, as Trustee for
                                   Banc of America Alternative Loan Trust 2005-6
                                   Mortgage Pass-Through Certificates, Series 2005-6
                                   By its attorney,

                                   /s/ Marcus Pratt
                                   Marcus Pratt, Esquire
                                   NH Bar #21206, BNH #07275
                                   Korde & Associates, P.C.
                                   900 Chelmsford Street, Suite 3102
                                   Lowell, MA 01851
                                   Tel: (978) 256-1500
                                   bankruptcy@kordeassociates.com
